






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-08-00098-CR







Robert Eugene Easley, Appellant



v.



The State of Texas, Appellee






FROM THE COUNTY COURT AT LAW NO. 1 OF TRAVIS COUNTY


NO. C-1-CR-07-100018, HONORABLE J. DAVID PHILLIPS, JUDGE PRESIDING






M E M O R A N D U M    O P I N I O N



Following a plea of guilty, appellant Robert Eugene Easley was convicted in the City
of Austin Municipal Court for failing to use a safety belt and fined $139.  See Tex. Transp. Code
Ann. § 545.413 (West Supp. 2007).  He appealed the conviction on the record to the Travis County
Court at Law No. 1.  That court affirmed the conviction, and appellant perfected an appeal to this
Court.  We will affirm.

The municipal court judgment reflects that no court reporter was requested, and thus
the municipal court record includes only the clerk's record.  See Tex. Gov't Code Ann.
§&nbsp;30.00010(c) (West Supp. 2007).  Appellant did not file a brief in the county court at law.  See id.
§ 30.00021(b).  Therefore, that court considered the appeal on the basis of the pro se motion for new
trial appellant filed in the municipal court.  See id. § 30.00014(c).  That motion read:


I would like to appeal decision.  I did not know that a non-moving violation
would appear on my driving record.  I drive for a living and this violation would
affect the insurance on my job.  I need to appeal.



In its judgment, the county court at law wrote, "The appellant gives this Court no clue as to how his
lack of knowledge about consequences makes him not guilty or made his trial unfair.  It appears that
the consequence he complains of is exactly the consequence that the law intends."  The court found
no error in the record and affirmed the conviction.	

		The record and briefs in the county court at law are the record and briefs in this Court. 
Id. § 30.00027(b)(2) (West 2004).  Therefore, we also have no reporter's record and no formal brief
from appellant.  We find no error in the county court at law's disposition of the argument made in
appellant's pro se motion for new trial.  In the interest of justice, we will also consider the arguments
made in appellant's pro se notice of appeal to this Court.

First, appellant "question[s] the authority of this court [the county court at law] over
a seat belt ticket.  Why was [this] cause not given to misdemeanor court[?]" The county court at law
is a misdemeanor court, and the case was in that court because appellant appealed his municipal
court conviction.  No error is shown.

 Next, appellant complains that "the officer did not remember how he gave me
the&nbsp;ticket.  I believe the attorney told him what to say."  Without a reporter's record, we cannot
review the trial testimony, if any, at the guilty plea proceeding in municipal court.  Nothing is
presented&nbsp;for&nbsp;review.

Appellant also complains that "officer[s] are allowed to stage radars to give speeding
ticket[s] anywhere at any time without permission from someone that should know their
whereabouts."  If appellant was initially stopped for speeding, the record before us does not reflect
it.  There is nothing in the record to suggest that the ticketing officer acted improperly.

Finally, appellant asserts that the "timely manner this case has taken caused me to not
make a brief on my behalf."  He adds, "I know the court system is full [but] the cause should have
a time limit from the time I appeal to get to court just as I have time limit to get a brief in.  I feel
cause should be dismiss[ed]."  It is not clear whether appellant is complaining that the appeal was
handled too quickly or that it was not handled quickly enough, but we suspect it is the latter. 
Appellant was convicted in the municipal court on January 26, 2006.  On June 7, 2006, appellant was
notified that the appellate record was complete and had been forwarded to the county court at law. 
The record was not filed by the county clerk, however, until October 4, 2007.  There is no apparent
explanation for this sixteen-month delay. 

Although the delay in transferring the record from the municipal court to the county
court at law was excessive, there is no showing of harm to appellant.  Because the appeal was on the
record, the delay did not harm appellant's ability to present his contentions to the county court at law. 
The county clerk's filing notice correctly informed appellant that he had fifteen days (to October 19,
2007) to file his brief.  See id. § 30.00021(b).  There is no indication that appellant tendered a brief
for filing, or sought an extension of time for filing a brief, at any time before the county court at law
rendered its judgment affirming the conviction on December 5, 2007.  No reversible error is shown.

The judgment of county court at law is affirmed.

		


				__________________________________________

				Diane Henson, Justice

Before Justices Patterson, Puryear and Henson

Affirmed

Filed:   April 2, 2008

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